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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


ARACELIS POLANCO, as Administrator of the
ESTATE OF LAYLEEN CUBILETTE-POLANCO,

                          Plaintiff,                   Case No. 19-CV-4623 (DLI) (SJB)
      ― against ―                                        AMENDED COMPLAINT
THE CITY OF NEW YORK, COLLEEN VESSELL,                   JURY TRIAL DEMANDED
TYKISHA WILLIAMS, TALAYA GALES,
BIANCA GARCIA, SHEVONNE DAVIS, and
JANE DOE,

                          Defendants.


             Plaintiff Aracelis Polanco, as Administrator of the Estate of Layleen

Cubilette-Polanco (“Layleen”), files this Amended Complaint against the above-

captioned Defendants and alleges as follows:

                             NATURE OF THE ACTION

             1.     Layleen was just 27 years old when she died on June 7, 2019 at the

Rose M. Singer Center on Rikers Island. She should be alive today.

             2.     Layleen was a Dominican-American, transgender woman, who

lived with epilepsy and schizophrenia.




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                 3.   People incarcerated at Rikers are constantly subjected to violence,

both from correction officers and other inmates.

                 4.   People incarcerated at Rikers are routinely denied necessary

medical care and proper supervision, including people who, like Layleen, have

conditions presenting a high risk of death or serious bodily injury.

                 5.   People incarcerated at Rikers are frequently improperly placed in

solitary confinement, including those who, like Layleen, have serious medical and/or

psychiatric conditions that should render them ineligible for placement in Punitive

Segregation or Restricted Housing Units.

                 6.   In particular, DOC regularly places transgender inmates in solitary

confinement, often for minor alleged infractions and in some cases for no legitimate

reason at all.

                 7.   According to former DOC mental health staff, DOC personnel

routinely place inmates in solitary for purely pretextual reasons, to make use of the bed

space in solitary housing units.

                 8.   These perennial problems have been brought to the City’s and

DOC’s attention again and again, including by the United States Department of Justice;

the Independent Commission on New York City Criminal Justice and Incarceration

Reform; and countless lawsuits, news reports, studies, letters, and other

communications.




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              9.     Most people incarcerated on Rikers are, like Layleen,

presumptively innocent, held in jail awaiting trial and unable to meet bail. Layleen was

incarcerated because she was unable to meet $500 bail.

              10.    Many incarcerated people are attacked and end up in preventable

altercations and then placed in solitary confinement (sometimes called punitive or

restricted housing), where they are kept in cells for more than 20 hours a day.

              11.    Conditions on Rikers Island are so bad that Homer Venters, the

former Medical Director for New York City jails, recently said that “closing Rikers is

absolutely necessary. It’s not sufficient to transform the criminal justice system in New

York City to become more humane, but it’s necessary.”

              12.    Numerous former DOC employees who held supervisory positions

have documented the persistent brutality and mistreatment of inmates on Rikers Island,

including Mr. Venters’s book, Life and Death in Rikers Island (published 2019) and former

Rikers assistant mental health chief Mary Buser’s book, Lockdown on Rikers: Shocking

Stories of Abuse and Injustice at New York’s Notorious Jail (published 2015).

              13.    Layleen is dead because the City of New York and its DOC and

Health + Hospitals / Correctional Health Services (“CHS”) personnel failed to provide

her safe housing, adequate medical care, and proper accommodation for her disabilities.

              14.    Plaintiff brings this action under the Fourteenth Amendment of the

Constitution, 42 U.S.C. § 1983, Section II of the Americans with Disabilities Act

(“ADA”), and New York State law, seeking justice for Layleen and damages from the

City of New York and its employees for their violations of her rights.




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                             JURISDICTION AND VENUE

              15.    This action arises under 42 U.S.C. §§ 1983, 1988, and 12131(2); and

New York State Law.

              16.    Jurisdiction lies in this Court under its federal question, civil rights,

and supplemental jurisdiction, 28 U.S.C. §§ 1331, 1343, and 1367.

              17.    Venue is proper in this Court under 28 U.S.C. § 1391 because

Plaintiff’s claims arose in the State of New York, all Defendants are residents of the

State of New York, and numerous named Defendants reside in the Eastern District of

New York.

                                         PARTIES

              18.    Layleen Cubilette-Polanco was an individual residing in Yonkers,

New York, who died while incarcerated at the Rose M. Singer Center on Rikers Island.

              19.    Plaintiff Arecelis Polanco is Layleen’s mother, next-of-kin, and the

Administrator of Layleen’s Estate. She is an individual residing in Yonkers, New York.

              20.    Defendant City of New York is a municipality and a political

subdivision of the State of New York, existing by virtue of the laws of the State of New

York. Defendant City of New York is and was at all relevant times responsible for the

policies, customs, and practices of the DOC and CHS.

              21.    Defendant Colleen Vessell was at all relevant times a municipal

official employed by Health + Hospitals / Correctional Health Services, residing in

Kings County, New York, acting under color of state law, and responsible for Layleen’s

medical care, safety, and well-being.




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               22.   Defendant Tykisha Williams in an individual who resides in Bronx,

New York. Defendant Williams was at all relevant times a municipal official employed

by DOC, acting under color of state law, and responsible for the care of those

incarcerated at the Rose M. Singer Center, including Layleen.

               23.   Defendant Talaya Gales is an individual who resides in Bronx, New

York. Defendant Gales was at all relevant times a municipal official employed by DOC,

acting under color of state law, and responsible for the care of those incarcerated at the

Rose M. Singer Center, including Layleen.

               24.   Defendant Bianca Garcia is an individual who resides in New York.

Defendant Garcia was at all relevant times a municipal official employed by DOC,

acting under color of state law, and responsible for the care of those incarcerated at the

Rose M. Singer Center, including Layleen.

               25.   Defendant Shevonne Davis is an individual who resides in Kings

County, New York. Defendant Davis was at all relevant times a municipal official

employed by DOC, acting under color of state law, and responsible for the care of those

incarcerated at the Rose M. Singer Center, including Layleen.

               26.   Defendant Jane Doe is an individual whose true name and

residence are currently unknown to Plaintiff. Defendant Doe was at all relevant times a

municipal official employed by DOC, acting under color of state law, and responsible

for the care of those incarcerated at the Rose M. Singer Center, including Layleen.

Defendant Doe was responsible for approving Layleen’s placement into punitive

segregation.




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              27.      Defendants Vessell, Williams, Gales, Garcia, Davis, and Doe are

sued in their individual capacities and referred to collectively, at times, as the

“Individual Defendants.” Defendants Williams, Gales, Garcia, Davis are referred to

collectively, at times, as the “RMSC DOC Defendants.”

                                GENERAL ALLEGATIONS

              28.      Layleen Cubilette-Polanco was a transgender woman, born in the

Dominican Republic, who immigrated to the United States as a child and became a

naturalized citizen.

              29.      Layleen was arrested on April 13, 2019, for misdemeanor charges.

She was sent to the Rose M. Singer Center on Rikers Island.

              30.      Layleen lived with schizophrenia and epilepsy, both of which are

treatable conditions, but which substantially limited a number of Layleen’s major life

activities and required heightened supervision because of the serious risks they present,

including the heightened risk of suicide and death from seizure-related complications.

              31.      The DOC, CHS, and Individual Defendants knew, were

deliberately indifferent to the facts, and/or should have known that Layleen suffered

from both conditions.

              32.      Layleen was prescribed an anti-seizure medication to be

administered twice daily.

              33.      In the months preceding her death, Layleen had multiple seizures

while in DOC custody.




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              34.    Layleen’s epilepsy substantially limited her neurological functions

and impeded other major life activities, including self-care, speaking, communicating,

concentrating, thinking, and breathing.

              35.    Layleen’s schizophrenia substantially limited her major life

activities, including self-care, sleeping, speaking, concentrating, thinking,

communicating, and working.

              36.    DOC regulations purport to forbid punitive segregation from being

used on an inmate with a serious medical or psychiatric condition.

              37.    Epilepsy is a serious medical condition.

              38.    Schizophrenia is a serious psychiatric condition.

              39.    On or about May 30, 2019, Layleen was sentenced to twenty days in

punitive segregation for an alleged disciplinary infraction. Layleen was placed in the

Central Punitive Segregation Unit (“CPSU”) at the Rose M. Singer Center.

              40.    On or about May 30, 2019, Defendant Doe authorized Layleen’s

placement in punitive segregation. Defendant Doe knew, or was deliberately

indifferent to the fact, that Layleen lived with epilepsy and schizophrenia, and was at

heightened risk of death or serious physical harm if placed in segregation.

              41.    On May 30, 2019, Defendant Vessell, a physician, completed a form

entitled “PSEG [Punitive Segregation] Review.” Defendant Vessell authorized

Layleen’s placement in punitive segregation despite her epilepsy, writing that the

epilepsy presented “no acute contraindication to the RHU [Restricted Housing Unit].”




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Defendant Vessell knew that Layleen lived with epilepsy and schizophrenia, and was at

heightened risk of death or serious physical harm if placed in segregation.

               42.       Inmates in restricted housing, often including those with serious

physical and mental health issues, are isolated in their cells for nearly all of their waking

hours. Layleen was treated accordingly, and regularly was left alone in a cell for many

hours at a time.

               43.       Even when she received the amount of time out of her cell that she

was supposed to receive – which frequently did not happen – Layleen spent the vast

majority of her life in CPSU in solitary confinement, meaning that she was locked in a

small cell by herself.

               44.       On many days in CPSU, Layleen received two hours or less outside

of her cell.

               45.       On June 7, 2019, during a period of more than two hours in length,

between 12:00 p.m. and 3:00 p.m., Layleen was locked in a solitary confinement cell in

CPSU.

               46.       DOC policy mandates that correction officers on duty in CPSU

check on each inmate at least once every half-hour, and verify that each inmate is alive.

               47.       Between 12:00 p.m. and 3:00 p.m., Defendants Williams, Gales,

Davis, and Garcia repeatedly walked past Layleen’s cell and at times looked into the

cell, but, in contravention of DOC policy, these Defendants did not verify that Layleen

was alive.




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              48.   These Defendants repeatedly knocked on the cell door, but Layleen

was unresponsive.

              49.   These Defendants took no action to get Layleen medical attention

(nor to determine whether she needed medical attention).

              50.   Instead, the officers left Layleen alone in the cell.

              51.   Another inmate reported hearing one of the officers remark that

Layleen was “asleep.”

              52.   The officers ignored the obvious risk that Layleen, who lived with

epilepsy and suffered frequent seizures, needed medical attention and could suffer

serious injury or death without intervention.

              53.   Between 12:00 p.m. and 3:00 p.m., jail mental health staff members

Lindsay Mathews and Laura Savary went to Layleen’s cell and found her unresponsive.

Dr. Mathews and Ms. Savary reported this to the RMSC DOC Defendants, who failed to

act on that information.

              54.   At or around 2:45 p.m., Defendants Williams and Gales begin

banging on Layleen’s cell.

              55.   Defendants Williams and Gales stood outside Layleen’s cell,

laughing, for more than 15 minutes, while Layleen lay unresponsive inside.

              56.   Eventually, Captain Kimberly McZick arrived and entered

Layleen’s cell.

              57.   When officers finally entered the cell, they found Layleen dead.

She had been dead so long that first responders found her body cold to the touch.




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               58.    Epileptics need consistent, 24-hour monitoring because of the risk

 of death from suffocation and other hazards seizures cause.

               59.    Inmates placed in restricted housing and solitary confinement do

 not receive such constant monitoring, and instead are ignored and left in their cells for

 hours at a time.

               60.    Layleen was no different. She was checked on infrequently by the

 Defendants and, when she was checked on, her condition was ignored, even when she

 was found non-responsive.

                                           Epilepsy

               61.    Epilepsy is a condition that affects millions of people worldwide.

               62.    Inability to breathe during and/or after a seizure is a common and

 well-known risk factor facing people with epilepsy.

               63.    One of the primary instructions for rendering first aid to someone

 who has suffered a seizure is to roll them onto their side. Then, people are instructed to

 aid a person experiencing a seizure by raising their chin to tilt their head back slightly;

 opening their airway to help them breathe; check that nothing is blocking their airway;

 and, if there is an obstruction, remove it.

               64.    Placing inmates with epilepsy in seclusion, isolated, restricted, or

 solitary confinement is very dangerous. Having a seizure while in seclusion puts an

 unobserved inmate with epilepsy at far greater risk of injury and death.




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               65.    An inmate may experience a fall from a seizure and suffer trauma,

 or have a seizure while sleeping and suffocate, especially if the inmate is not adequately

 monitored.

               66.    The Individual Defendants were aware of these risks and

 committed the acts and omissions described herein in spite of them.

                                     Monell Allegations

               67.    Between 2010 and 2016, there were more than 100 deaths in New

 York City jails. Former Medical Director Venters found that up to twenty percent of

 those deaths each year were “jail-attributable deaths.”

               68.    Nowhere is the risk to inmates’ safety greater than in solitary

 confinement (alternatively named “punitive segregation” or “restricted housing” by

 correction officials who prefer not to call it solitary confinement).

               69.    Dr. Venters identified solitary confinement as “one of the most

 dramatic health risks of incarceration,” noting that the practice can and has resulted in

 “preventable death.”

               70.    Dr. Venters has reported that when he and other jail medical

 providers raised the “health risks” of solitary confinement with the City’s “policy

 makers,” their concerns were brushed aside.

               71.    Dr. Venters delivered to City policy makers his medical opinion

 that solitary confinement was “harmful for our patients and that we should eliminate

 this practice for our patients with mental illness and adolescents and severely limit it for

 all others.” The Medical Director’s recommendation did not result in policy changes.




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               72.   Numerous published studies and widely circulated medical

 journals concluded that placing individuals with serious mental illness in solitary

 confinement presented serious and unacceptable health risks.

               73.   At all relevant times, the City’s policy makers were aware of these

 reported risks.

               74.   Nevertheless, the City has continued, as a matter of policy, custom,

 and practice, to place individuals with serious mental illnesses and serious medical

 problems in solitary confinement, including Layleen.

               75.   Just one month before Layleen died, the City entered into a multi-

 million dollar settlement over the 2014 death of Rolando Perez in DOC custody.

               76.   Perez died two days after being put in solitary confinement. He

 had suffered from epilepsy since he was a teen and relied on medications to control it.

               77.   Given his epilepsy, Perez never should have been placed in solitary

 confinement; but because DOC’s solitary confinement policy permits it, Perez was

 placed in segregation, where he died from complications of a seizure.

               78.   In September 2016, the City entered into a multi-million dollar

 settlement with the family of Victor Woods.

               79.   Woods also suffered from seizures while in DOC custody. He died

 from complications of a seizure while correction officers failed to seek medical attention

 for him.

               80.   In September 2016, the City settled a multi-million dollar lawsuit

 with the family of Bradley Ballard. Mr. Ballard was taken into custody in June 2013 on




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 a parole violation for his failure to report an address change. Mr. Ballard was deprived

 of medication for his diabetes and schizophrenia.

              81.    At one point during his incarceration, he was sent to the psychiatric

 prison ward at Bellevue Hospital Center, where he stayed for 38 days before being sent

 back to the mental health unit at Rikers.

              82.    On September 4, 2016, Ballard was locked in his cell as punishment

 for an alleged infraction, where he was denied food, water, and medical and mental

 health care. Seven days later, Ballard was found dead in his cell. His death was ruled a

 homicide.

              83.    These and many other cases have put the City and DOC on notice

 that putting people with physical and mental disabilities into punitive segregation,

 without monitoring, creates a risk of death or serious injury.

              84.    In December 2014, the Prisoners’ Rights project of the Legal Aid

 Society submitted a report to the City as testimony, available at

 http://bit.ly/deathisinsolitary, providing extensive information about the dangers

 facing inmates confined in restricted or segregation housing, including the heightened

 dangers facing inmates with serious medical and/or psychiatric problems.

              85.    No adequate remedial action has been put in place to rectify the

 dangers faced by disabled inmates in punitive segregation.

              86.    Prior to Layleen’s death, no officer responsible for formulating the

 policies allowing inmates with serious medical and/or psychiatric problems to be

 placed in punitive segregation had been suspended, fired, or disciplined. Nor had any




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 officer responsible for placing inmates with serious medical and/or psychiatric

 problems to be placed in punitive segregation been suspended, fired, or disciplined.

               87.    The City turns a blind eye to correction officers who violate

 commitments it has made to the Federal government and its citizens.

               88.    The failure to discipline correction officers for criminal and

 unconstitutional actions leads to the lawless and dangerous actions of its employees.

                               FIRST CAUSE OF ACTION

       42 U.S.C. § 1983, Fourteenth Amendment to the United States Constitution

             Against Defendants Vessell, Williams, Davis, Gales, Garcia, and Doe

               89.    Plaintiff realleges the foregoing paragraphs as if fully set forth

 herein.

               90.    The Individual Defendants were at all relevant times New York

 City employees responsible for Layleen’s custody and care.

               91.    The Individual Defendants knew, were deliberately indifferent to,

 and/or recklessly disregarded the fact that that Layleen faced a substantial risk of

 serious harm if she was placed in punitive segregation, left unmonitored, and/or not

 attended to if observed unresponsive.

               92.    The acts and omissions of the Individual Defendants, which caused

 Layleen to choke to death and die alone in her cell, were deliberately indifferent to a

 known and substantial risk of serious injury to her.




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                              SECOND CAUSE OF ACTION

       42 U.S.C. § 1983, Fourteenth Amendment to the United States Constitution

                             Against Defendant City of New York

               93.    Plaintiff realleges the foregoing paragraphs as if fully set forth

 herein.

               94.    Defendant City was put on notice of the risk of inaction by the

 numerous deaths to mentally ill and disabled inmates in solitary confinement, as

 evidenced by the numerous multi-million dollar settlements the City entered into

 arising out of deaths of inmates in solitary and punitive segregation.

               95.    The DOC maintains a practice and policy of withholding crucial

 medical information about inmates from DOC personnel responsible for inmate safety

 and care.

               96.    Correction officers and DOC employees repeatedly ignore the

 medical needs of inmates placed in punitive segregation, leading to their death.

               97.    Correction officers and DOC employees are not disciplined for their

 knowing use of punitive segregation on disabled inmates, their failure to monitor

 disabled inmates in punitive segregation when medically necessary, and their complete

 disregard for the medical needs of inmates in punitive segregation.

               98.    The City, by its failure to discipline, supervise, and train its

 employees while on notice of the risks faced by inmates with medical needs in punitive

 segregation, was deliberately indifferent to the constitutional rights of inmates.




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               99.    The City exhibited deliberate indifference because it failed to act

 when the need for more or better supervision to protect against constitutional violations

 was obvious. The City tacitly authorized the pattern of misconduct witnessed here.

 Nothing was done to investigate or forestall such incidents.

               100.   The City’s deliberate indifference to the constitutional rights of

 inmates with serious medical needs in punitive segregation caused the death of Layleen

 Polanco.

                               THIRD CAUSE OF ACTION

       Claim under the Americans with Disabilities Act, 42 U.S.C. §§ 12131 et seq.

     Refusal to Provide a Reasonable Accommodation with Deliberate Indifference to
                   Serious Medical Needs and Inmate Health and Safety

                             Against Defendant City of New York

               101.   Plaintiff realleges the foregoing paragraphs as if fully set forth

 herein.

               102.   Congress enacted the Americans with Disabilities Act “to provide a

 clear and comprehensive national mandate for the elimination of discrimination against

 individuals with disabilities.” 42 U.S.C. § 12101(b)(1). The Act states that “no qualified

 individual with a disability shall, by reason of such disability, be excluded from

 participation in or be denied the benefits of the services, programs, or activities of a

 public entity, or be subjected to discrimination by any such entity.”

               103.   Due to the severe seizures she regularly suffered, Ms. Cubilette-

 Polanco disabled as defined under 42 U.S.C. § 12102(1)(A), because she suffered a

 neurological impairment that substantially limited one or more of her major life


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 activities, including, but not limited to, her ability to walk, eat, work, communicate, and

 comprehend her surroundings. Epilepsy, a condition characterized by seizures, has

 been determined to be a condition that “will, at minimum, substantially limit [a] major

 life activit[y]” because “epilepsy substantially limits neurological function” and will

 “virtually always be found to impose a substantial limitation on a major life activity.”

 29 C.F.R. § 1630.2(j)(3)(ii-iii).

                104.    Plaintiff was a qualified individual with a disability within the

 meaning of Title II of the ADA, 42 U.S.C. § 12131(2): “Qualified individual” means an

 individual with a disability who meets the essential eligibility requirements for the

 receipt of services or the participation in programs or activities provided by the entity

 (with or without regard to any auxiliary aids or modifications).

                105.    She had a right not to be discriminated against by the City of New

 York on the basis of her disability. The violations of the Act alleged herein were

 committed by the other Defendants while acting within the course and scope of their

 employment and/or agency of the City of New York. The City of New York is liable for

 the actions of those agents and employees.

                106.    The City of New York and its agents were aware of the need for

 reasonable accommodation for her seizures, because they were aware of anti-

 convulsant medication taken by Ms. Cubilette-Polanco and provided anti-convulsant

 medication to her.

                107.    The City of New York and its agents and employees acted

 intentionally and/or with deliberate indifference to Ms. Polanco’s need for a reasonable




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 accommodation by placing her in the restricted housing unit, where she could not be

 readily observed and, in the event of a seizure, could be given medical care.

               108.   Layleen suffered a seizure while in her cell and died as a direct and

 proximate result of the City’s, its agents’, and its employees’ refusal to provide Layleen

 with a reasonable accommodation for her disability

               109.   Had she been reasonably accommodated, she would have been

 detained in a readily observable cell, and would be alive.

               110.   As a result of the refusal to provide her with a reasonable

 accommodation for her disability, Ms. Cubilette-Polanco suffered discrimination,

 unequal treatment, exclusion and violations of her rights under the laws of the United

 States, and she suffered the serious injuries alleged above.

                              FOURTH CAUSE OF ACTION

           Negligent Hiring, Training, and Retention of Employment Services

                             Against Defendant City of New York

               111.   Plaintiff repeats and realleges the foregoing paragraphs as if fully

 set forth herein.

               112.   Defendant City, through DOC and CHS, owed a duty of care to

 Plaintiff to prevent the conduct alleged, because under the same or similar

 circumstances a reasonable, prudent, and careful person should have anticipated that

 injury to Plaintiff or to those in a like situation would probably result from the

 foregoing conduct.




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               113.     The Individual Defendants were unfit and incompetent for their

 positions, including, in part, as a result of Defendant City’s failure to provide

 reasonable training to them.

               114.     Defendant City’s negligence in screening, hiring, training,

 disciplining, and retaining the Individual Defendants proximately caused Plaintiff's

 injuries.

               115.     As a direct and proximate result of this unlawful conduct, Plaintiff

 sustained the damages alleged herein.

                                 FIFTH CAUSE OF ACTION

                                        Wrongful Death

                                     Against All Defendants

               116.     Plaintiff repeats and realleges the foregoing paragraphs as if fully

 set forth at herein.

               117.     By reason of the foregoing, the statutory distributees of the Plaintiff

 estate sustained pecuniary and non-economic loss resulting from the loss of love,

 comfort, society, attention, services, and support.

               118.     Defendants are liable to Plaintiff for the wrongful death of Layleen

 Cubilette-Polanco. As a consequence, Plaintiff has suffered damages in an amount to be

 determined at trial.




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                                 SIXTH CAUSE OF ACTION

                                           Neglience

                                     Against All Defendants

               119.     Plaintiff repeats and realleges the foregoing paragraphs as if fully

 set forth herein.

               120.     Defendants owed a duty of care to Plaintiff as an inmate in DOC

 custody.

               121.     Defendants breached the duty of care that they owed Plaintiff by

 placing her in punitive segregation and by failing to safely monitor her well-being,

 despite awareness of her serious medical conditions.

               122.     Defendants’ breaches of their duty of care proximately caused

 Layleen Cubilette-Polanco’s serious and unnecessary injuries, including severe pain and

 suffering and death.

               123.     As a direct and proximate result of the misconduct and abuse of

 authority detailed above, Plaintiff sustained the damages alleged.

                                   DEMAND FOR RELIEF

        WHEREFORE, Plaintiff Aracelis Polanco, on behalf of the Estate of Layleen

 Cubilette-Polanco, demands judgment against the above-captioned Defendants as

 follows:

        a.     For compensatory damages in an amount to be determined at trial;

        b.     For punitive damages against the individual defendants in an amount to
               be determined at trial;

        c.     For reasonable attorneys’ fees, costs, and disbursements, under 42 U.S.C. §


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             1988, 42 U.S.C. § 12205, and other applicable laws;

       d.    For pre- and post-judgment interest as allowed by law; and

       e.    For such other relief as this Court deems just and proper.


 Dated: November 15, 2019
        New York, New York
                                   DAVID B. SHANIES LAW OFFICE



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